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                              ORIGINAL                                          , : ' i l t : -- .

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                                                                          ,4l.illt:i,i ,.
                   IN THE UNITED STATESDISTRICTCOURT

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                  FoRrHEsourHERN
                                                               i'l r$v
                                DUBLINDIVISION

JIMMY LEE MCBRIDE,

              Petitioner,

                                             cv 312-058
                                             (Formerly
                                                    CR310-012)
UNITED STATESOF AMERICA,

              Respondent,


                                     ORDER


       After a careful,de novoreviewof the file, the Courtconcurswith the Magistrate

Judge'sReportandRecommendation,
                             to whichnoobjections
                                                havebeenfiled. AccordinglS

the ReportandRecommendation
                         of the MagistrateJudgeis ADOPTED asthe opinionof

                   Petitioner'smotionto amendis DENIED (doc.no.8), andhis motion
theCourt. Therefore,

filed pursuantto 28 U.S.C.$ 2255is DENIED withoutan evidentiaryhearing.

                 a federalprisonermustobtaina certificateof appealability("COA")
       Furthermore,

beforeappealingthe denial of his motion to vacate. This Court "must issueor deny a

certificateofappealabilitywhenit entersa final orderadverseto theapplicant."Rule 11(a)

                                         This Courtshouldgranta COA only if
to the RulesGovemingSection2255Proceedings.

theprisonermakesa "substantial                                 right." 28 U.S.C.
                            showingofthe denialofa constitutional

g 2253(c)(2). For the reasonsset forth in the Reportand Recommendation,
                                                                     and in

considerationof the standardsenunciatedin Slackv. McDaniel,529 U.S. 4'73,482-84

(2000), Petitionerhas failed to make the requisiteshowing. Accordingly a COA is
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DENIED in this case.r Moreover,becausethereare no non-frivolousissuesto raiseon

appeal,an appealwouldnot be takenin goodfaith. Accordingly,Petitioneris not entitled

to appealin.formapaupens.See28 U.S.C.$ 1915(a)(3).

       Uponthe foregoing,a finaljudgrnentsha11
                                             be ENTERED in favorof Respondent,

andthis civil actionshallbe CLOSED.




        r"If the courtdeniesa certificate,a partymay not appealthe denialbut may seeka
certificatefiom the courtof appeals  underFederalRuleof AppellateProcedure   22." Rule
1l(a) to theRulesGovemingSection2255Proceedings.
